          Case 1:19-cv-00608-LY Document 27 Filed 11/06/19 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION                                        2flI9NQV6     P11   li:Q4

C.S. B/N/F CHARLES E. SNEED, SR.                 §                                    WESIJ
AND PAMELA J. PARKS,                             §                                      13"
                   PLAINTIFFS,                   §

                                                 §
V.                                               §    CAUSE NO. 1:1 9-CV-608-LY
                                                 §
AUSTIN INDEPENDENT SCHOOL                        §
DISTRICT,                                        §
              DEFENDANT.                         §




       IT IS ORDERED that Defendant Austin Independent School District's Rule 12(b)(1) &

(b)(6) Motion for Partial Dismissal of Plaintiffs' First Amended Complaint filed September 27,

2019 (Dkt. No. 22) and all filings related thereto are REFERRED to United States Magistrate

Mark Lane for report and recommendation.   See   28 U.S.C.   §   636(b)(1)(B); Fed. R. Civ. P. 72; Loc.

R. W.D. Tex. App. C, R. 1(d).

       SIGNED this               day of November, 2019.




                                           UN ED STAT S DISTRICT JUDGE
